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                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF MAINE

         _________________________________________

         UNITED STATES OF AMERICA,                CRIMINAL ACTION

                           Plaintiff,             Docket No:      15-mj-140-JHR


               -versus-


         TODD RASBERRY,

                           Defendant.

         _________________________________________



                                Transcript of Proceedings

              Pursuant to notice, the above-entitled matter came on
         for Initial Appearance held before THE HONORABLE JOHN H.
         RICH III, United States Magistate Judge, in the United
         States District Court, Edward T. Gignoux Courthouse, 156
         Federal Street, Portland, Maine, on the 16th day of July,
         2015, at 3:20 p.m. as follows:



         Appearances:

         For the Government:           Julia M. Lipez, Esquire
                                       Assistant United States Attorney

         For the Defendant:             Robert A. Levine, Esquire


                             Tammy L. Martell, RPR, CRR
                               Official Court Reporter

                           FTR Operator:    Nicholas Gordon



             (Prepared from FTR and computer-aided transcription.)
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 1                       (Open Court.       Defendant Present.)

 2                   THE COURT:    Good afternoon, counsel.

 3                   MS. LIPEZ:    Afternoon, Your Honor.

 4                   MR. LEVINE:     Good afternoon.

 5                   THE COURT:    Ms. Lipez, please call the

 6       Government's next matter for the record.

 7                   MS. LIPEZ:    This is United States versus Todd

 8       Rasberry.    Case No. 15-mj-140-JHR.       This matter before the

 9       Court is for an initial appearance.         Julia Lipez appearing

10       for the United States.       The defendant is present in the

11       courtroom along with Attorney Robert Levine.             The date of

12       arrest, Your Honor, was yesterday, July 15.

13                   THE COURT:    Very well.     Thank you very much.       And

14       good afternoon again, Mr. Levine.

15                   MR. LEVINE:     Good afternoon, Your Honor.

16                   THE COURT:    Mr. Levine, first of all, with regard

17       to Mr. Rasberry's date of arrest does the defense agree

18       that yesterday is the correct date?

19                   MR. LEVINE:     Yes.

20                   THE COURT:    And have you also received a copy of

21       both the complaint and the supporting affidavit of Special

22       Agent Wolf in this matter?

23                   MR. LEVINE:     Yes.

24                   THE COURT:    And had a chance to review it with

25       Mr. Rasberry?
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                                                                                  3
 1                   MR. LEVINE:     Yes.   Except page two was missing,

 2       so I just got page two and haven't yet gone over that with

 3       him, but he reviewed this.

 4                   THE COURT:    Okay.    Do you need more time?

 5                   MR. LEVINE:     No, Your Honor.

 6                   THE COURT:    All right.     Very well.      In that case,

 7       Mr. Rasberry, if you would stand, please.

 8             Mr. Rasberry, let me explain to you why you are in

 9       court this afternoon.       You are here for what is known in

10       federal court as your initial appearance.          The purpose of

11       any initial appearance is threefold.         First, I will explain

12       to you the charges against you contained in a complaint

13       that has been filed with this court.         The complaint is

14       supported by a supporting affidavit that has been sworn to

15       by Special Agent Paul Wolf of the United States DEA who is

16       present in the courtroom this afternoon.          I will also

17       explain to you the penalties that you face in connection

18       with the charges against you should you be convicted of one

19       or both of them.      Secondly, I will explain to you your

20       rights.    That's a very important aspect of every initial

21       appearance in federal court.        And, thirdly, I will explain

22       to you the circumstances under which you may be entitled to

23       be released prior to your trial in this case.

24             It will not be the purpose of the hearing this

25       afternoon for me to take your plea in this matter.             In
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 1       other words, there will not be an arraignment this

 2       afternoon.     And, of course, it is also not the purpose of

 3       any initial appearance, and not the purpose of this initial

 4       appearance, to attempt in any way to determine your guilt

 5       or your innocence in connection with the charges against

 6       you.   That matter is a matter that's reserved for trial.

 7              Turning to the charges against you, as mentioned, the

 8       criminal complaint in this matter does charge you with two

 9       alleged offenses.      First in Count 1 with possession with

10       intent to distribute a mixture of substance containing

11       cocaine in violation of Section 841(a)(1) of Title 21 of

12       the United States Code, and in Count 2 with possession with

13       intent to distribute a mixture or substance containing

14       heroin in violation of the same section of the same title.

15              The penalties that you face in connection with the

16       charges against you as to each count, Counts 1 and 2,

17       should you be convicted of one or both of them, would be a

18       term of imprisonment of up to 20 years, a fine of up to $1

19       million, or both, and a term of supervised release as to

20       each count of at least three years and not more than life.

21              Additionally, for any violation of supervised release,

22       should there be a violation of supervised release in the

23       future, the maximum term of imprisonment that you would

24       face as to each count would be two years, and the maximum

25       additional term of supervised release that you would face
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 1       as to each count would be life less any period of

 2       imprisonment that might be imposed by the Court upon

 3       revocation of your supervised release.

 4               Also, Mr. Rasberry, should you be convicted of one or

 5       both of the counts against you, you would be assessed a

 6       special felony assessment of $100 per count or a maximum of

 7       $200 in this case since, again, as I mentioned, the

 8       charging document, the criminal complaint in this matter,

 9       contains two counts.

10               The criminal complaint in this case does have

11       submitted with it, and submitted in support thereof, an

12       affidavit that has been sworn to by Special Agent Paul Wolf

13       of the United States Drug Enforcement Administration.              That

14       affidavit consists of six pages and 19 numbered paragraphs

15       and sets forth specific facts by which the Government would

16       contend that there is probable cause to believe that you

17       have committed the offenses with which you have been

18       charged.

19               Turning to your rights, Mr. Rasberry, first you have

20       the right to remain silent.        You are not required to say

21       anything; but anything that you do say, including anything

22       you may say to a judge in court, can be used against you.

23       If you have made a statement previously, you need say no

24       more.    If you start to make a statement, you may stop at

25       any time.    The important point for you to remember is that
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 1       anything that you do say can be used against you.

 2             Another right that you have, sir, is the right to be

 3       represented by an attorney at every step of this case.

 4       Now, you do have the right at all times to hire an attorney

 5       of your own choosing should you be able to afford to do so;

 6       but you also have the right at all times if you are not

 7       able to hire an attorney, including of course right now,

 8       and the Court is satisfied that you are financially unable

 9       to do so, to have the Court appoint an attorney for you.

10       And that will be at no cost to you.

11             Do you understand your right to be represented by a

12       lawyer in this case?

13                   THE DEFENDANT:     Yes.

14                   THE COURT:    And can you afford to hire a lawyer

15       at this time?

16                   THE DEFENDANT:     No, I can't.

17                   THE COURT:    Have you spoken to Attorney Levine,

18       who is standing next to you, about this matter?

19                   THE DEFENDANT:     Yes, I have.

20                   THE COURT:    Thank you, sir.      And are you

21       requesting that I appoint Robert Levine, Esquire, as your

22       lawyer in this case?

23                   THE DEFENDANT:     Yes.

24                   THE COURT:    All right.     Thank you, sir.

25       Mr. Rasberry, as I am sure you know, before I can appoint
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 1       Mr. Levine as your -- or any other lawyer, for that matter,

 2       as your court-appointed lawyer in this case I am required

 3       under the law to satisfy myself, on behalf of the court,

 4       that you are, in fact, financially eligible for a

 5       court-appointed lawyer.       And a financial declaration has

 6       been prepared; I am holding it up at this time.            What I am

 7       holding up has your name and the name of your case on the

 8       first page, has what appears to be your signature on the

 9       back.

10               For the record, Mr. Rasberry, can you confirm that

11       what I am holding up is your financial declaration?

12                    THE DEFENDANT:    Yes.

13                    THE COURT:   And is the signature on the back your

14       signature?

15                    THE DEFENDANT:    Yes.

16                    THE COURT:   Is this declaration both complete and

17       also accurate?

18                    THE DEFENDANT:    Yes.

19                    THE COURT:   And to the best of your knowledge do

20       you swear to the truth of the information in this document?

21                    THE DEFENDANT:    Yes.

22                    THE COURT:   All right.     Thank you, sir.      And you

23       were last working back in approximately 2004 in

24       construction; is that correct?

25                    THE DEFENDANT:    Yes.
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 1                   THE COURT:    Okay, thank you.      And I understand,

 2       Mr. Rasberry, that you do not own, either in your own name

 3       or jointly with anyone else, either any real estate or any

 4       motor vehicles or any bank account either at a bank or

 5       credit union; is that correct?        Is it correct?

 6                   THE DEFENDANT:     Yes, correct, I don't own.

 7                   THE COURT:    Okay.    Okay.   Thank you.     And other

 8       than the jewelry that you have listed, and not including

 9       your clothing and your household effects, you know, any

10       furniture you might have, or TVs and so on, let me just ask

11       the question:     Do you have any other item of personal

12       property that you could sell that, No. 1, you could sell

13       immediately and, No. 2, would generate at least a thousand

14       dollars on selling?

15                   THE DEFENDANT:     No, I do not.

16                   THE COURT:    All right, thank you, sir.        Then I do

17       find that the defendant, Todd Rasberry, is eligible for

18       court-appointed counsel, and I appoint Robert Levine,

19       Esquire, as his lawyer in this case.         Thank you,

20       Mr. Levine --

21                   MR. LEVINE:     You're welcome.

22                   THE COURT:    -- for accepting the appointment.

23             Mr. Rasberry, I am going to indicate on the same form

24       we've been discussing, the financial declaration that you

25       signed, that your request for court-appointed counsel is
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 1       approved at this time and Robert Levine, Esquire, who is

 2       standing next to you, will be your lawyer for all purposes

 3       in this case, and he will defend your interests in this

 4       case going forward.

 5             Another right that you have, Mr. Rasberry, is the

 6       right to trial and judgment and sentencing before a

 7       district judge of this court.        I am a magistrate judge of

 8       this court.     And you also have a right to trial by jury in

 9       this court.

10             Another right that you have, because the charges

11       against you are contained in a criminal complaint in this

12       case and not in an indictment returned by the Grand Jury,

13       is the right to what is known as a preliminary hearing.

14       Sometimes also called a probable cause hearing.

15             A preliminary hearing, or probable cause hearing, is a

16       hearing that would be conducted before a judge of this

17       court, most likely before me, within no more than two weeks

18       if you are detained, as you are currently, no more than

19       three weeks if you are not detained; and the purpose of the

20       hearing is to determine if there is probable cause to

21       believe that you have committed the offenses with which you

22       have been charged.

23             At that hearing you would have the right, through

24       Mr. Levine, to cross-examine the evidence that the

25       Government would be required to produce.          It is the
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  1       Government's burden to establish probable cause.            And you

  2       would also have the right, should you choose, through

  3       Mr. Levine, to put on any additional evidence that you may

  4       wish.

  5               If the Grand Jury should return an indictment in this

  6       matter prior to the con -- the conduct of the preliminary

  7       hearing, then you would not have a right to the preliminary

  8       hearing because the indictment by the Grand Jury is a

  9       finding of probable cause.       But otherwise you would -- do

10        have the right to the hearing.

11                You have the right to waive your right to the hearing;

12        but you should understand, before doing so, that by waiving

13        your right to the hearing not only would the hearing not

14        take place on probable cause but you would be agreeing, by

15        that waiver, to the existence of probable cause.            So that's

16        a matter that you should discuss with Mr. Levine.

17                Mr. Levine, I understand that Mr. Rasberry wishes a

18        probable cause hearing at this time?

19                     MR. LEVINE:    Correct, Your Honor.

20                     THE COURT:    Okay, very well.    And the parties

21        have been consulted and are available for a joint hearing

22        on Tuesday at 1:00; is that correct, Ms. Lipez?

23                     MS. LIPEZ:    That's correct, Your Honor.

24                     THE COURT:    And does that work for you as well,

25        Mr. Levine?
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  1                   MR. LEVINE:    Yes, Your Honor.

  2                   THE COURT:    Okay.   So, Mr. Rasberry, we're going

  3       to set you down for your probable cause hearing for next

  4       Tuesday at 1:00.     I will explain in a moment it is going to

  5       be a combined hearing meaning that it will also be a bail

  6       hearing if you either waive your right to the probable

  7       cause hearing or if I should find probable cause, so that

  8       will also be scheduled at 1:00 on Tuesday.

  9             And I will explain in a moment that Tuesday is the

10        first available date because the Government has asked for a

11        three-day continuance on a bail hearing which the law

12        provides, when the Government makes that request, must be

13        the granted.    So the earliest day we can set you down for

14        bail -- a bail hearing is Tuesday, and we'll do the -- the

15        preliminary hearing, the probable cause hearing, first.

16              That then brings me to the issue of bail.          And I will

17        now explain to you -- excuse me, before I do that, one

18        other matter that I need to inform you of, and that is,

19        Mr. Rasberry, if you were not a United States citizen one

20        right that you would have would be the right to have either

21        an attorney for the Government or any federal law

22        enforcement officer notify your country of nationality of

23        your arrest and the charges against you; and even if you

24        did not make such a request, an international treaty or

25        other international agreement may require such consular
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  1       notification.

  2             All right.    Let me now explain to you the legal

  3       standard in federal court for bail or detention; and that

  4       is, Mr. Rasberry, that you have the right, as do all

  5       defendants in federal felony criminal cases, to be released

  6       prior to trial either on your personal recognizance, which

  7       simply means on your promise to appear in court whenever

  8       you are required to do so, or upon your signing or

  9       executing an appearance bond unsecured in an amount to be

10        determined by the Court provided that under either

11        circumstance, either PR release or bond release, you not

12        commit any crime federal, state or local during the period

13        of your release prior to trial.

14              If the Court, however, should determine that your

15        release prior to trial would not both reasonably assure

16        your appearance and also reasonably assure the safety of

17        any other person and the community, then you would not be

18        entitled to be released prior to trial.

19              In addition, if the Court finds that you are entitled

20        to be released prior to trial it will be with such

21        condition, or more likely combination of conditions, that

22        the Court determines are, on the one hand, least

23        restrictive to you but, on the other hand, needed to

24        reasonably assure your appearance and the safety of any

25        other person and the community.
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  1             You have a right to a hearing known in federal court

  2       as a detention hearing, sometimes called a bail hearing;

  3       and you would only be detained, in other words bail would

  4       only be denied, if the Court should find after a hearing,

  5       based on the evidence at the hearing, that there is no

  6       condition or there are no conditions that can be imposed

  7       upon you to reasonably assure appearance and safety of

  8       others in the community.

  9             If the Court finds that such conditions are available,

10        you will be released upon them.        If the Court find such

11        conditions are not available, then you would be detained

12        pending trial in this case.

13              In this case the Government has filed a motion seeking

14        your detention.     In its motion the Government is arguing to

15        this Court that this Court should detain you because the

16        Government says there are no conditions that would

17        reasonably appear either -- reasonably assure, excuse me,

18        either your appearance or the safety of any other person

19        and the community.

20              In addition, the Government has invoked a presumption

21        which it does exist under the law for certain types of

22        cases including cases involving drugs.         That legal

23        presumption is that no conditions exist for release;

24        however, it is a rebuttable presumption meaning, as

25        Mr. Levine can explain to you very well, that as long as
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  1       some evidence is presented by the defense for release the

  2       Court will go forward with the hearing on bail.            However,

  3       the presumption will remain in the case as one factor,

  4       among many factors, for the Court to consider when it makes

  5       its ultimate decision on detention or bail.

  6             In addition, as I mentioned a moment ago,

  7       Mr. Rasberry, the Government has requested a three-day

  8       continuance for the bail hearing.        The Government almost

  9       always does that.      The law requires this Court to grant

10        that when the request is made.        It is three business days.

11        Today is Thursday.      That means that Tuesday would be the

12        first available date for bail.        So, again, we'll schedule

13        you for a combined hearing on Tuesday.         First the

14        preliminary hearing on probable cause.         If you waive that

15        hearing, then that's an agree -- an admission on your part

16        that there is probable cause, we'll go directly to a bail

17        hearing.      If you do not waive your right, and it is your

18        absolute right to have the hearing, then we'll have that

19        hearing first.      If the Court finds there is no probable

20        cause, then that -- this -- the complaint will be dismissed

21        and that's the end of the matter.        If the Court finds that

22        there is probable cause, we will go on immediately to your

23        bail hearing.

24              Okay?     Anything that I have left out, Ms. Lipez?

25                      MS. LIPEZ:   No, Your Honor.
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  1                   THE COURT:    Okay.   And I will enter an order of

  2       temporary detention temporarily detaining Mr. Rasberry

  3       between now and Tuesday.

  4             Anything I have left out, Mr. Levine?

  5                   MR. LEVINE:    No, Your Honor.

  6                   THE COURT:    Okay.   Thanks very much.      In recess.

  7                              (End Of Proceeding.)

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  1                           C E R T I F I C A T I O N

  2             I, Tammy L. Martell, Registered Professional Reporter,

  3       Certified Realtime Reporter, and Official Court Reporter

  4       for the United States District Court, District of Maine,

  5       certify that the foregoing is a correct transcript from the

  6       record of proceedings in the above-entitled matter.

  7       Dated:      February 7, 2017

  8                                    /s/ Tammy L. Martell

  9                                    Official Court Reporter

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